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ATTACHMENT B

United States v.
Pedro Morales

Case No.: 13-cr-00245-WJM

 
Drug Rehabilitation Centers in Colorado | STIRRT | Arapahoe House

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Drug Rehabilitation Centers in Colorado - STIRRT

Program
Overview

The Short-Term
Intensive
Residential
Remediation
Treatment
(STIRRT)
program assists
substance
abusing male or
famale
offenders who
are on parole or
probation, and fail to maintain sobriety.

This treatment is intended ta combine the most recent advances in substance
abuse treatment, including motivational enhancement, cognitive behavioral
theories and strategies for self-improvement and change. The residential
treatment portion of the STIRRT program offers 120 hours of intensive
treatment over the course of 14 days. Continuing care services are offered
following residential and spans approximately eight months post discharge.

Program Services

STIRRT treats substance use and co-occurring mental health disorders with a
criminal conduct focus. Gender specific services address perpetrator/victim
cycle, thinking errors, conflict management, refusal skills, anger management,
family issues, communication skills, assertiveness training, coping skills,
relapse prevention, job skills, relaxation meditation, spirituality, and
development of support system.

Admission Criteria

« Must be male and 18 years of age or older;

« All clients are referred by probation, parole, Treatment Alternatives to Street
Crimes (TASC), and Denver Drug Court and Community Corrections;

* Must have severe substance abuse/dependency and/or co-occurring mental
health disorders;

« One or more misdemeanor or felony convictions, and must be at risk of
being incarcerated in a Departinent of Corrections or county jail to be accepted

: Newsroom

 

 
 

Get Help -- 303.412.3818

Inclimate Weather Line --
303.412.3631

Administrative Offices --
303.657.3700

Could you or someone you
know have a problem with
drugs or alcohol? Call
303.412.3818 or e-mail
info@ahine.org for help.
Phone lines are open Mon -
Sat, 8 a.m. to 7 p.m. (TTY?
303,412,3636, Video Phone
for D/deaf & hard of
hearing: 720,689.1982)

 

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into the program,

 

People Most Able to Benefit from this Program
* Men or women whose criminal record consists of misdemeanor or felony
convictions;

» Men or women who are unable to maintain abstinence from alcohol and
drugs while under supervision of the Criminal Justice System;

« Men or women who are unable te maintain abstinence from alcoho! and
drugs while in outpatient treatment;

* Men or women who are at risk of having probation or parole revoked and of
being incarcerated;

*« Men or women who are assessed as needing intensive levels cf treatment;
and

« Men or women completing the STIRRT program who are in need of intensive
outpatient services,

Expected Length of Stay

14 days. After completing STIRRT, Arapahoe House recommends that clients
transition into a continuing care outpatient program offering up to eight
months of specialized services,

Hours of Operation
STIRRT Residential program operates 24 hours per day throughout the year.
STIRRT Continuing Care: Monday through Saturday, 9 a.m. to 9 p.m.

Location
Commerce City (men) and Littleton, CO (women)

For referral or admission to any of our programs, please contact the
Information and Access Team 303.412.3818 or info@ahinc.org. Phone
lines are open Monday through Saturday 8 a.m. to 7 p.m.

Arapahoe House Admin Offices ~ 8801 Lipan Street - Thornton, Colorado (CO} 80260 - 303-412-3818 (TTY:
303.412.3636) info@anhinc.org Sitemap

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